     Case 2:14-cv-00895-GHK-PJW Document 7 Filed 04/10/14 Page 1 of 2 Page ID #:47



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8

9                        UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA

11   STEPHANIE TAYLOR,          ) Case No. 2:14-cv-00895-GHK-PJW
12                              )
     Plaintiff,                 )
13
                                ) NOTICE OF SETTLEMENT
14          vs.                 )
                                ) Hon. George H. King
15
     MIDLAND CREDIT             )
16   MANAGEMENT, INC.,          )
17
                                )
     Defendant.                 )
18
            NOW COMES THE PLAINTIFF by and through her attorney to
19
     respectfully notify this Honorable Court that this case has settled. Plaintiff
20

21   requests that this Honorable Court allow sixty (60) days with which to file
22
     dispositive documentation. A Joint Stipulation for Dismissal will be forthcoming.
23

24   This Court shall retain jurisdiction over this matter until fully resolved.
25
                  Respectfully submitted this 10th day of April, 2014.
26

27
                                            By: s/Todd M. Friedman
                                               TODD M. FRIEDMAN
28                                             Law Offices of Todd M. Friedman, P.C.
                                               Attorney for Plaintiff


                                        Notice of Settlement - 1
     Case 2:14-cv-00895-GHK-PJW Document 7 Filed 04/10/14 Page 2 of 2 Page ID #:48



1    Filed electronically on this 10th day of April, 2014, with:
2
     United States District Court CM/ECF system
3

4    Notification sent electronically via the Court’s ECF system to:
5
     Honorable George H. King
6    United States District Court
7    Central District of California
8
     Thomas F. Landers
9    SOLOMON WARD SEIDENWURM & SMITH, LLP
     401 B Street, Suite 1200
10
     San Diego CA 92101
11   Attorney for Defendant
12
     This 10th day of April, 2014.
13

14   s/Todd M. Friedman
     Todd M. Friedman
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                                       Notice of Settlement - 2
